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                                                       Thursday, 25 June, 2020 11:07:02 PM
                                                              Clerk, U.S. District Court, ILCD

              UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,               )
                                        )
     Plaintiff,                         )
                                        )
v.                                      )         No. 14-CR-30024
                                        )
BELINDA YOUNG,                          )
                                        )
     Defendant.                         )

      AMENDED MOTION FOR COMPASSIONATE RELEASE

     Defendant Belinda Young, through her attorney Assistant

Federal Public Defender Rosana E. Brown, hereby moves this

Honorable Court for compassionate release pursuant to 18 U.S.C.

§ 3582(c)(1)(A) and The CARES Act, Pub. L. No. 116-136 (Mar. 27,

2020). In support thereof, she provides the following:

I.   Introduction

     This Court sentenced Ms. Young on October 9, 2015, to serve

120 months’ imprisonment, to be followed by a 8-year term of

supervised release, pursuant to her guilty plea to one count of

Conspiracy to Distribute 5 or More Kilograms of Cocaine, in

violation of 21 U.S.C. § 841(b)(1)(A). Ms. Young has remained in
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custody since August 5, 2014. Her currently projected release date

is October 11, 2022.

      Ms. Young is a 58-year old woman serving her sentence with

the Bureau of Prisons (BOP) location at FCI Pekin. Ms. Young

suffers from blood clots in her legs and lungs which require that

she take daily medications for blood thinning to reduce her risk of

pulmonary embolism. In addition, she suffered a heart attack in

2013 after which she was hospitalized at St. John’s Hospital in

Springfield. PSR at ¶ 119. Together with her age, these chronic

medical conditions may place Ms. Young at high risk for contracting

and having serious complications, including death, from COVID-

19.1 While the BOP facility at which she is house, FCI Pekin,

currently has no confirmed positive cases of COVID-19,

compassionate release is ultimately a discretionary issue best left to

the Court’s purview. Thus, she proposes that her health

conditions, age, and minimal time left to her sentence, coupled with

circumstances created by the current pandemic warrant the




1People Who are at Higher Risk from Severe Illness, CDC (Mar. 18, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/high-risk-
complications.html.
                                      2
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exercise of this Court’s discretion in considering her release to an

early period of home confinement.

      As of June 25, 2020, 89 Bureau of Prisons inmates and 1 staff

member have died from COVID-19, and the death toll continues to

rise.2 This risk is not confined to the elderly—58% of now-deceased

inmates, like Ms. Young, were under the age of 65. 3 Eighty-one (81)

of those now-deceased inmates, like Ms. Young, had “pre-existing

medical conditions which the CDC lists as risk factors for

developing more severe COVID-19 disease.”4 Eight of those now-

deceased inmates had no pre-existing conditions at all. 5

      On Friday, April 3, 2020, Attorney General William Barr

issued a memorandum expanding availability of home confinement

as an alternative to incarceration finding that emergency conditions

due to the COVID-19 pandemic “are materially affecting the

functioning of the Bureau of Prisons.” 6 Legal experts have implored

2 https://www.bop.gov/coronavirus/.
3 An analysis of BOP Press Releases per death shows that 52 of 89 inmate
deaths were individuals under the age of 65.
https://www.bop.gov/resources/press_releases.jsp.
4 Id.
5 Id. (looking to press releases void of statements alleging the inmate suffered

from pre-existing health conditions).
6 Memorandum from the Attorney General, Increasing Use of Home Confinement

at Institutions Most Affected by COVID-19 (Apr. 3, 2019), at
https://www.justice.gov/file/1266661/download.
                                       3
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the Attorney General to expand the home confinement program

even further. 7 BOP’s response after the Barr Memorandum has

been sparse and non-transparent. 8 In recent weeks, multiple

United States Senators have voiced concern over BOP’s flailing

attempts to curb the spread of the virus, and their non-

responsiveness to the call to release medically vulnerable inmates. 9

      Ms. Young is currently housed at FCI Pekin. While there are

not yet any confirmed cases in that particular facility, the virus

infiltrates new facilities daily and has expanded at an alarming rate


7 Brennan Center for Justice letter to Att’y Gen. William P. Barr, Expanding
BOP’s Response to the Novel Coronavirus, and Helping States Safely Reduce
their Prison Populations (Apr. 16, 2020), at
https://www.brennancenter.org/sites/default/files/2020-
04/BC%20Letter%20to%20DOJ%20final_0.pdf.
8 Forbes, Lack of Direction from Bureau of Prisons Showing in Federal Court

(Apr. 21, 2020) (describing a lack of guidance to BOP facilities, changes in
posture concerning eligibility, and court confusion in general),
https://www.forbes.com/sites/walterpavlo/2020/04/21/lack-of-direction-
from-bureau-of-prisons-showing-in-federal-court/#74e400a411fe.
9 Jessica Ladd, Senator Discusses COVID-19 Threat at Federal Prisons (June 9,

2020), https://www.kfvs12.com/2020/06/09/senator-discusses-covid-threat-
federal-prisons/ (Senator Durbin spoke to Federal Public Defender officials
about the failure of BOP to maintain safety for inmates and staff during the
pandemic, noting that the BOP infection rate is seven times greater than that of
the United States, while they have released only 2 percent of the BOP prison
population. Several BOP inmates who have died from the virus were within
months of being released.); Brown.senate.gov, Brown, Kaptur Demand Answers
on Spread of COVID-19 at Elkton Prison Facility, Urge Bureau of Prisons to do
More to Stop Spread of Virus, Protect Everyone There (June 8, 2020),
https://www.brown.senate.gov/newsroom/press/release/brown-kaptur-
spread-covid-19-elkton-prison-facility (describing a letter sent by 4 Senators
urging BOP to take immediate action.).
                                       4
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within the Bureau of Prisons; the rate of growth for which is twice

that of the United States as a whole.10 Ms. Young asks this Court

to consider the minimal amount of time left on her ten-year

sentence, which was required by the mandatory minimum term

under 21 U.S.C. § 841(b)(1)(A), and to grant her compassionate

release and order her to serve the remainder of her sentence on

home confinement, to spare her the risk of exposure to the virus.

II.      Procedural Status

         Ms. Young sent a letter to the Court on June 15, 2020,

requesting compassionate release. The Court appointed the Federal

Public Defender to represent Ms. Young for this purpose and

ordered an Amended Motion to be filed within three days.

         Ms. Young filed a request for compassionate release with the

Warden of her facility on April 9, 2020, and received a rejection

letter on May 5, 2020.

III.    Compassionate Release

        President Trump signed the First Step Act into law on

December 21, 2018. Pub. L. No. 115-391 (Dec. 21, 2018). Among




10   See infra n. 12 (Table).
                                       5
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the changes in the law, Congress amended the provision on

compassionate release at 18 U.S.C. § 3582(c)(1)(A)(i). The law

provides the sentencing judge with jurisdiction to consider a

defense motion for reduction of sentence based on extraordinary

and compelling reasons whenever “the defendant has fully

exhausted all administrative rights to appeal a failure of the Bureau

of Prisons to bring a motion on the defendant’s behalf,” or after “the

lapse of 30 days from the receipt of such a request by the warden of

the defendant’s facility, whichever is earlier[.]” 18 U.S.C.

§ 3582(c)(1(A); see also First Step Act of 2018, § 603(b), Pub. L. 115-

391, 132 Stat. 5194, 5239 (Dec. 21, 2018). Prior to passage of the

First Step Act only the Director of the Bureau of Prisons had the

authority to file a motion for compassionate release.

     This Court has discretion to reduce the term of imprisonment

imposed in this case based on § 3582(c)(1)(A)(i), which states in

relevant part that the Court “may reduce the term of imprisonment,

after considering the factors set forth in [18 U.S.C. §] 3553(a) to the

extent they are applicable, if it finds that . . . extraordinary and

compelling reasons warrant such a reduction . . . and that such a



                                    6
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reduction is consistent with applicable policy statements issued by

the Sentencing Commission[.]”

     A.   Exhaustion of administrative remedies

     As noted above, normally the Court cannot consider a

compassionate release motion filed by the defendant unless “the

defendant has fully exhausted all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf,” or after “the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever

is earlier[.]” 18 U.S.C. § 3582(c)(1(A). Ms. Young has made a

request to her Warden, which was denied more than 30 days ago.

Therefore, she has met the statutory claim processing rule

established by the First Step Act, as 30 days have lapsed since her

request from the Warden at FCI Pekin. Regardless, this Court has

previously found that the immediate danger of serious illness or

death from COVID-19 justifies excusing exhaustion of the

compassionate release statute’s administrative exhaustion

requirement. See e.g., United States v. Coles, No. 00-CR-20051,

2020 WL 1976296 (C.D. Ill. Apr. 24, 2020).



                                    7
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     B.   COVID-19 provides an extraordinary and compelling
          reason for compassionate release.

     The compassionate release statute does not expressly define or

limit what constitutes an “extraordinary and compelling” reason for

a sentence reduction. Black’s Law Dictionary, however, defines

“extraordinary” as “[b]eyond what is usual, customary, regular, or

common,” (11th ed. 2019). Its definition of “compelling need,” is

one “so great that irreparable harm or injustice would result if [the

relief] is not [granted].” Id. The present global pandemic is a

quintessential extraordinary circumstance beyond what most

Americans have experienced in their lifetimes. Thus, this Court is

authorized to consider that the combination of circumstances

provide extraordinary and compelling reasons for Ms. Young’s

immediate release.

          1.    COVID-19 Is an Unprecedented and Rapidly-
                Expanding Global Health Emergency that Presents a
                Serious Risk to Vulnerable Populations.

     On March 11, 2020, the World Health Organization officially

classified the new strain of coronavirus which causes COVID-19 as




                                    8
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a pandemic. 11 “COVID-19 is a serious disease” that makes certain

populations of people severely ill and can lead to death. 12 To be

certain, individuals need not fall within one of the at-risk categories

to experience complications, including death, from contracting the

virus. The current best estimate is that the fatality rate among all

demographics “is 5-35 times the fatality associated with influenza

infection.” 13 COVID-19 has infected more than 9 million people

worldwide, leading to nearly 500,000 deaths.14 On March 26, 2020,

the United States became the global leader in COVID infections,

and have exceeded 2 million cases. 15 The number of confirmed

COVID-19 cases continues to rise exponentially, but reported


11 WHO Director-General’s Opening Remarks at the Media Briefing on COVID-19
– 11 March 2020, World Health Organization (Mar. 11, 2020),
https://bit.ly/2W8dwpS.
12 Declaration, Chris Beyrer, MD, MPH, Professor of Epidemiology, Johns

Hopkins Bloomberg School of Public Health, ¶ 5 (Mar. 16, 2020),
https://www.aclu-md.org/sites/default/files/field_documents/ex_d_-
_beyrer_declaration_final.pdf.
13 Id. at ¶11; see also Nick Wilson et al., Case-Fatality Risk Estimates for

COVID-19 Calculated by Using a Lag Time for Fatality, 26 EID JOURNAL
(prepublication June 2020), https://wwwnc.cdc.gov/eid/article/26/6/20-
0320_article.
14 Coronavirus COVID-19 Global Cases, Center for Systems Science and

Engineering (CSSE) at Johns Hopkins University,
https://coronavirus.jhu.edu/map.html (last visited June 15, 2020) (updating
regularly).
15 Tom Porter, The US is Well on the Way to Having a Coronavirus Outbreak

Worse than China's or Even Italy’s, Business Insider (Mar. 26, 2020),
https://www.businessinsider.com/figures-show-us-soon-coronavirus-worse-
china-2020-3.
                                      9
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numbers underrepresent the true scope of the crisis—“experts

believe that the United States still isn’t testing enough people to

detect the outbreak’s true spread.”16 Underreporting from a lack of

testing is especially true within the BOP. As the judge in United

States v. Caddo noted, “it is unknowable whether BOP detainees or

inmates have Covid-19 until they are tested, and BOP has not

conducted many or any such tests because, like the rest of the

country, BOP has very few or no actual Covid-19 test packets.” No.

3:18-cr-08341-JJT (D. Ariz. Mar. 23, 2020) (ECF No. 174) (Order at

5).

      The alarming rise in the number of COVID-19 cases in the

BOP shows the unique danger all inmates face from the virus. The

chart below shows the exponential growth in COVID-19 cases in the

BOP to date. 17


16 Alexis C. Madrigal & Robinson Meyer, How the Coronavirus Became an
American Catastrophe, The Atlantic (Mar. 21, 2020),
https://www.theatlantic.com/health/archive/2020/03/how-many-
amPierrens-are-sick-lost-february/608521/.
17 Figures collected from www.bop.gov/coronavirus on a daily basis by the

Federal Defenders of New York and posted to https://federaldefendersny.org/.
“There is good reason to believe that the numbers reported by the BOP
understate the actual number of tested-positive cases. Compare M. Licon-
Vitale, MCC Ward, and D. Edge, MDC Warden, Response to EDNY
Administrative Order 2020-14 (Apr. 7,
2020), https://www.nyed.uscourts.gov/pub/bop/MDC_20200407_042057.pdf
(3 positive inmates at MDC Brooklyn) with COVID-19 Cases Federal Bureau of
                                     10
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             Number     Number of                           Number of   Total BOP
                                    Number of   Number of
               of       Recovered                           Recovered     Cases
    Date                             Inmate      Positive
             Positive    Inmates                              Staff
                                     Deaths       Staff
             Inmates
 3/19/2020        0          0          0            0           0           0
 3/23/2020        3          0          0            3           0           6
 3/27/2020        6          0          0            3           0           9
 3/31/2020       19          0          1           19           0          38
  4/4/2020       75          0          6           39           0         114
  4/8/2020      195          0          8           63           0         259
 4/12/2020      318         15          9          163           8         481
 4/16/2020      446         20         14          248          13         694
 4/20/2020      479        145         21          305          26         784
 4/24/2020      566        248         24          342          52         908
 4/28/2020      799        385         27          319         124        1118
  5/2/2020     1692        426         33          349         132        2041
  5/6/2020     1984        543         40          356         149        2340
 5/10/2020     3082        619         45          248         279        3330
 5/14/2020     2817       1288         50          262         279        3079
 5/18/2020     2280       1950         56          283         287        4856
 5/22/2020     2267       2177         58          188         389        5079
 5/26/2020     1558       3144         59          186         403        5350
 5/30/2020     1577       3180         64          181         413        5415
  6/3/2020     1649       3582         66          192         420        5909
  6/7/2020     1956       3689         72          176         450        6343
 6/11/2020     2125       3975         78          190         453        6822
 6/15/2020     1374       4775         82          185         472        6889
 6/19/2020     1318       4955         85          164         516        7039
 6/23/2020     1349       4975         87          163         528        7103



It is important to note that at least one BOP inmate died of COVID-

19 related complications after being deemed “recovered” and

returned to the general population. 18


Prisons (Apr. 7, 2020) at www.bop.gov/coronavirus (2 positive inmates at MDC
Brooklyn).”
18 Inmate Adrian Solarzano was converted to recovered status on May 10,

2020, after being asymptomatic at FCI Terminal Island, and died 5 days later
                                       11
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     Using only the numbers of currently infected inmates and

staff, the growth rate for the virus within the BOP is astounding. It

dwarfs our national figures as demonstrated below, 19 demonstrating

a very practical inability to contain the virus in BOP facilities.


                                   Cumulative
    Date                           BOP Rate of   Number of                 Cumulative
             Number     BOP         Rise Since    National   U.S. Rate     U.S. Rate of
             of BOP      Rate of                   Cases         of Rise   Rise Since
                                   3/20/2020
             Cases       Rise                                              3/20


 3/20/2020      2        0.00%       0.00%       18,747       0.00%          0.00%
 3/26/2020      18      200.00%    400.00%       85,356       93.19%        228.87%
  4/1/2020      94      147.37%    658.48%       213144       51.27%        345.21%
  4/7/2020     313      79.89%     823.47%       395011       29.59%        417.81%
 4/13/2020     589      22.45%     899.60%       579,005      17.58%        460.06%
 4/19/2020     804       6.91%     934.19%       746,625      12.83%        487.17%
 4/25/2020     1047      7.16%     962.87%       928,619      12.09%        510.23%
  5/1/2020     2876     29.84%     1086.09%      1,062,446    8.28%         524.17%
  5/7/2020     3803     23.80%     1116.70%      1,219,066    5.79%         538.42%
 5/13/2020     4772      4.83%     1141.23%      1,364,061    4.87%         549.99%
 5/19/2020     5037      3.73%     1146.72%      1,504,830    4.05%         560.06%
 5/25/2020     5348      1.13%     1152.83%      1,637,456    4.19%         568.69%
 5/31/2020     5913      4.12%     1163.14%      1,761,503    3.71%         576.13%
  6/6/2020     6539      3.09%     1173.51%      1,891,690    3.52%         583.39%
 6/12/2020     6859      .54%      1178.38%      2,036,429    3.30%         590.90%
 6/18/2020     6986      1.39%     1180.22%      2,177,842    3.44%         597.73%




after having described chest pains.
https://www.bop.gov/resources/news/pdfs/20200527_press_release_trm.pdf;
Richard Winton, Inmate Labeled as ‘Recovered’ from Coronavirus Dies at
Terminal Island (May 28, 2020),
https://www.latimes.com/california/story/2020-05-28/ninth-inmate-dies-
coronavirus-terminal-island-prison.
19 National numbers collected by Federal Defenders of New York and posted at

https://federaldefendersny.org/. “Numbers obtained
from https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
us.html.”
                                      12
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In other words, the curve of growth for confirmed coronavirus cases

in the BOP far surpasses the rate for the United States as a whole,

and keeps accelerating, depicting a very real and present danger to

all BOP inmates and staff. 20




Every BOP inmate is now, right now, at serious risk of contracting

the virus whether the particular facility has yet to confirm cases or




20   https://federaldefendersny.org/.
                                         13
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not. For any of these prisoners, contracting the virus very well may

result in death.

     Conditions of imprisonment create the ideal environment for

the transmission of contagious diseases. 21 “Incarcerated/detained

persons live, work, eat, study, and recreate within congregate

environments, heightening the potential for COVID-19 to spread

once introduced.” 22 The CDC recognizes the difficulty of preventing

the introduction of COVID-19 into prison facilities:

     There are many opportunities for COVID-19 to be introduced into a
     correctional or detention facility, including daily staff ingress and
     egress; transfer of incarcerated/detained persons between facilities
     and systems, to court appearances, and to outside medical visits;
     and visits from family, legal representatives, and other community
     members. Some settings, particularly jails and detention centers,
     have high turnover, admitting new entrants daily who may have
     been exposed to COVID-19 in the surrounding community or other
     regions. 23

According to health experts, incarcerated individuals “are at special

risk of infection, given their living situations, “and “may also be less

able to participate in proactive measures to keep themselves safe;”



21 Joseph A. Bick, Infection Control in Jails and Prisons 1047-55, Clinical
Infectious Diseases 45(8) (2007), at
https://academic.oup.com/cid/article/45/8/1047/344842.
22 Centers for Disease Control and Prevention (CDC), Interim Guidance on

Management of Coronavirus Disease 2019 (COVID-19) in Correctional and
Detention Facilities (Mar. 23, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/community/correction-detention/guidance-correctional-detention.html.
23 Id.


                                      14
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“infection control is challenging in these settings.” 24 Crowding,

inadequate ventilation, and security issues all contribute to the

spread of infectious disease in jails and prisons. 25 Hand sanitizer,

an effective disinfectant recommended by the CDC to reduce

transmission rates, is contraband in jails and prisons because of its

alcohol content. 26 Additionally, incarcerated people tend to be in

poorer health than the general population. According to a recent

Bureau of Justice Statistics study, approximately half of state and

federal prisoners and jail inmates have chronic conditions such as

cancer, high blood pressure, diabetes, cirrhosis of the liver, heart




24 “Achieving a Fair and Effective COVID-19 Response: An Open Letter to Vice-
President Mike Pence, and Other Federal, State, and Local Leaders from Public
Health and Legal Experts in the United States,” (Mar. 2, 2020), at
https://law.yale.edu/sites/default/files/area/center/ghjp/documents/final_co
vid-19_letter_from_public_health_and_legal_experts.pdf.
25 Martin Kaste, Prisons and Jails Worry About Becoming Coronavirus

‘Incubators’, NPR (Mar. 13, 2020), https://www.npr.org/2020/03/13/
815002735/prisons-and-jails-worry-about-becoming-coronavirus-incubators.
26 Keri Blakinger & Beth Schwarzapfel, How Can Prisons Contain Coronavirus

When Purell is a Contraband?, ABA Journal (Mar. 13, 2020),
https://www.abajournal.com/news/article/when-purell-is-contraband-how-
can-prisons-contain-coronavirus.
                                     15
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disease, and asthma. 27 Medical care of prisoners is limited at the

best of times.28

      Because of these dangers, the public health community is

insistent on the critical need to rapidly reduce our prison

populations, both for the health of our inmates and the health of

the community as a whole:

      It is . . . an urgent priority in this time of national public health
      emergency to reduce the number of persons in detention as quickly
      as possible . . . Releasing as many inmates as possible is important
      to protect the health of inmates, the health of correctional facility
      staff, the health of health care workers at jails and other detention
      facilities, and the health of the community as a whole. 29




27 Laura M. Maruschak et al., Medical Problems of State and Federal Prisoners
and Jail Inmates, 2011-12, Bureau of Justice Statistics, NCJ 248491, 1 (Rev.
Oct. 4, 2016), https://www.bjs.gov/content/pub/pdf/mpsfpji1112.pdf.
28 See U.S. Dep’t of Justice Office of the Inspector General, Review of the

Federal Bureau of Prisons’ Medical Staffing Challenges (Mar. 2016),
https://oig.justice.gov/reports/2016/e1602.pdf (finding that the BOP
experienced chronic medical staff shortages and failed to take adequate
measures to address them, leading to problems meeting the medical needs of
prisoners, requiring the use of outside hospitals, and endangering the safety
and security of institutions); U.S. Dep’t of Justice Office of the Inspector
General, The Impact of an Aging Inmate Population on the Federal Bureau of
Prisons (Rev. Feb. 2016), https://oig.justice.gov/reports/2015/e1505.pdf
(finding that BOP facilities and services, including medical services, were
inadequate to meet the needs of an aging prison population leading to delays in
medical treatment for prisoners with acute and chronic heart and neurological
conditions, who wait an average of 114 days to see medical specialists); David
Patton, Statement from Federal Defenders of New York, FEDERAL DEFENDERS OF
NEW YORK (Mar. 8, 2020), https://federaldefendersny.org/about-
us/news/statement-from-federal-defenders-of-new-york.html.
29 Beyrer, supra n.8 at ¶¶ 34, 36.


                                       16
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“We need to take the unprecedented step TODAY of providing

urgent release to everyone in the jails who is at risk of serious

morbidity and mortality from COVID.” 30 On March 23, 2020, a

bipartisan group of fourteen senators wrote to Attorney General

Barr and the Director of the Bureau of Prisons to express “serious

concern for the health and wellbeing” of those inmates “most

vulnerable to infection.” 31 They noted that “[c]onditions of

confinement do not afford individuals the opportunity to take

proactive steps to protect themselves, and prisons often create the

ideal environment for the transmission of contagious disease.” Id.

The senators called on the BOP to use existing tools like the elderly

prisoner home confinement program and compassionate release to

discharge vulnerable inmates from prison. Id.

     As of June 25, 2020, the BOP’s COVID-19, Coronavirus

webpage shows 1,249 inmates and 133 staff members with



30 Jennifer Gonnerman, A Rikers Island Doctor Speaks Out to Save Her Elderly
Patients from the Coronavirus, The New Yorker (Mar. 20, 2020) (quoting Rachael
Bedard, Rikers Island Geriatrician), https://www.newyorker.com/news/news-
desk/a-rikers-island-doctor-speaks-out-to-save-her-elderly-patients-from-the-
coronavirus.
31 Letter from Senator Charles Grassley et al. (Mar. 23, 2020),

https://www.grassley.senate.gov/news/news-releases/durbin-grassley-
colleagues-press-trump-administration-transfer-vulnerable-inmates.
                                     17
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confirmed cases of COVID-19. https://www.bop.gov/coronavirus/.

And these are just the active infections. Another 5.115 inmates and

571 staff members have been deemed recovered from the virus. Id.

     Because the danger of contracting COVID-19 in the BOP is

statistically profound and urgent, and because Ms. Young may

stand at high risk for contracting and experiencing serious

complications from the disease, this Court may, in its discretion,

determine that the combination of factors present an extraordinary

and compelling basis for s sentence reduction in this case.

           3.    Ms. Young Runs a High Risk of Serious Illness or
                 Death if She Contracts COVID-19.

     The CDC and other medical authorities have made clear that

COVID-19 is especially dangerous for people of all ages with

underlying medical conditions.32 Those with certain serious health

concerns—including heart failure and stroke—are also especially

vulnerable to and at higher risk for serious complications from

COVID-19, including death. 33 Ms. Young’s medical records reflect a


32 See CDC, People Who are at Higher Risk,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
at-higher-risk.html.
33 See CDC, Information for Healthcare Professionals: COVID-19 and Underlying

Conditions (June 25, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-
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history of blood clots that have required various blood thinning

medications to reduce her risk of stroke. She also suffered a heart

attack in 2013. Combined with her age, there is a significant risk

that, if she contracts the virus, she will not survive and will instead

become memorialized in a single one-page press release as yet

another BOP casualty.

      While Ms. Young is among those at-risk of death or serious

illness from COVID-19, as a Bureau of Prisons inmate, it is

impossible for her to follow the CDC’s recommendations to protect

herself from exposure to this highly-transmissible disease.34 Ms.

Young’s risk of serious illness or death from the unprecedented

global pandemic, together with all of the other relevant factors in

this case, presents an extraordinary and compelling basis for

sentence reduction.




conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavir
us%2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-
risk.html#serious-heart-conditions.
34 See The New York Times, Chicago’s Jail is Top U.S. Hot Spot as Virus Spreads

Behind Bars (Apr. 9, 2020) (Measures taken by jail administrators “have not
prevented a dizzying pace of infection among a population in which social
distancing is virtually impossible and access to soap and water is not
guaranteed.”), https://www.nytimes.com/2020/04/08/us/coronavirus-cook-
county-jail-chicago.html.
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     D.    With Full Consideration of the § 3553(a) Factors,
           Including the COVID-19 Pandemic, Ms. Young’s Time
           Served, in Addition to a Period of Home Confinement.
           Constitutes a Sentence Sufficient, but Not Greater
           than Necessary, to Accomplish the Goals of
           Sentencing.

     When extraordinary and compelling reasons are established,

the Court must consider the relevant sentencing factors in

§ 3553(a) to determine whether a sentence reduction is warranted.

18 U.S.C. § 3582(c)(1)(A)(i). Under Pepper v. United States, 562 U.S.

476, 490-93 (2011), the Court can, and indeed must, consider post-

offense developments under § 3553(a). Ms. Young has had no

disciplinary infractions since arriving at the BOP for the service of

this sentence. She has completed 372 GED education hours in

addition to other courses.

     Here, the overriding factor under § 3553(a) that was not

present at the time of sentencing is the COVID-19 pandemic and

the serious risk it presents. Although the circumstances of the

present offense qualified Ms. Young for the sentence of

imprisonment that this Court imposed, the sentencing purpose of

just punishment does not warrant a sentence that includes

exposure to a life-threatening illness. In fact, the Eighth


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Amendment’s prohibition on cruel and unusual punishment

includes unreasonable exposure to dangerous conditions in

custody. Helling v. McKinney, 509 U.S. 25, 28 (1993); see also

Wallis v. Baldwin, 70 F.3d 1074, 1076 (9th Cir. 1995) (applying

Helling to exposure to asbestos); Brown v. Mitchell, 327 F. Supp. 2d

615, 650 (E.D. Va. July 28, 2004) (applying Helling to contagious

diseases caused by overcrowding conditions).

     The totality of the circumstances demonstrate that reducing

Ms. Young’s sentence to time served to be followed by a term of

home confinement as a condition of supervised release, may be

considered “sufficient, but not greater than necessary,” to serve the

purposes of sentencing under § 3553(a). Ms. Young proposes that

she will live with her daughter Ranika Young in Springfield, Illinois.

There, she will have every reason to self-quarantine and protect

both her health and that of her family.

     WHEREFORE, the defendant respectfully requests that this

Honorable Court grant her compassionate release.

Date: June 25, 2020               Respectfully submitted,

                                  BELINDA YOUNG, Defendant



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                                  By: s/ Rosana E. Brown
                                  Rosana E. Brown
                                  Assistant Federal Public Defender
                                  Office of the Federal Public Defender
                                  600 E. Adams, 3rd Floor
                                  Springfield, Illinois 62701
                                  Telephone: (217) 492-5070
                                  Fax: (217) 492-5077
                                  E-mail: rosie_brown@fd.org



                    CERTIFICATE OF SERVICE

     I hereby certify that on June 25, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to the United States
Attorney’s Office. I also certify I have mailed the foregoing
document by First Class Mail within three calendar days to the
non-CM/ECF participant: Mr. Belinda Young.


                                  By: s/ Rosana E. Brown
                                  Rosana E. Brown
                                  Assistant Federal Public Defender
                                  Office of the Federal Public Defender
                                  600 E. Adams, 3rd Floor
                                  Springfield, Illinois 62701
                                  Telephone: (217) 492-5070
                                  Fax: (217) 492-5077
                                  E-mail: rosie_brown@fd.org




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